
33 N.Y.2d 730 (1973)
In the Matter of David M. Civilette, Respondent,
v.
George Caccamise et al., Constituting the Board of Elections of the County of Chautauqua, et al., Appellants.
Court of Appeals of the State of New York.
Argued October 18, 1973.
Decided October 23, 1973.
Bruce K. Carpenter and Donald J. McCarthy, Jr. for Daniel Larson and Chester Woloszyn, appellants.
David M. Civilette, respondent in person.
Concur: Chief Judge FULD and Judges BURKE, GABRIELLI, JONES and WACHTLER. Judges JASEN and SHAPIRO[*] dissent and vote to reverse on the authority of Matter of Cohalan v. Olmo (41 A D 2d 840) and the fact that upon the argument of this appeal the appellants presented a certified copy of the petition filed with the Board of Elections, the contents of which were conceded by the respondent to be accurate.
Order affirmed, without costs; no opinion.
NOTES
[*]  Designated pursuant to section 2 of article VI of the State Constitution in place of BREITEL, J.

